Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 1 of 50 Page ID
                                   #:2922
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 2 of 50 Page ID
                                   #:2923
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 3 of 50 Page ID
                                   #:2924
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 4 of 50 Page ID
                                   #:2925
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 5 of 50 Page ID
                                   #:2926
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 6 of 50 Page ID
                                   #:2927
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 7 of 50 Page ID
                                   #:2928
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 8 of 50 Page ID
                                   #:2929
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 9 of 50 Page ID
                                   #:2930
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 10 of 50 Page ID
                                    #:2931
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 11 of 50 Page ID
                                    #:2932
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 12 of 50 Page ID
                                    #:2933
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 13 of 50 Page ID
                                    #:2934
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 14 of 50 Page ID
                                    #:2935
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 15 of 50 Page ID
                                    #:2936
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 16 of 50 Page ID
                                    #:2937
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 17 of 50 Page ID
                                    #:2938
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 18 of 50 Page ID
                                    #:2939
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 19 of 50 Page ID
                                    #:2940
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 20 of 50 Page ID
                                    #:2941
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 21 of 50 Page ID
                                    #:2942
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 22 of 50 Page ID
                                    #:2943
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 23 of 50 Page ID
                                    #:2944
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 24 of 50 Page ID
                                    #:2945
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 25 of 50 Page ID
                                    #:2946
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 26 of 50 Page ID
                                    #:2947
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 27 of 50 Page ID
                                    #:2948
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 28 of 50 Page ID
                                    #:2949
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 29 of 50 Page ID
                                    #:2950
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 30 of 50 Page ID
                                    #:2951
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 31 of 50 Page ID
                                    #:2952
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 32 of 50 Page ID
                                    #:2953
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 33 of 50 Page ID
                                    #:2954
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 34 of 50 Page ID
                                    #:2955
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 35 of 50 Page ID
                                    #:2956
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 36 of 50 Page ID
                                    #:2957
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 37 of 50 Page ID
                                    #:2958
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 38 of 50 Page ID
                                    #:2959
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 39 of 50 Page ID
                                    #:2960
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 40 of 50 Page ID
                                    #:2961
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 41 of 50 Page ID
                                    #:2962
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 42 of 50 Page ID
                                    #:2963
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 43 of 50 Page ID
                                    #:2964
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 44 of 50 Page ID
                                    #:2965
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 45 of 50 Page ID
                                    #:2966
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 46 of 50 Page ID
                                    #:2967
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 47 of 50 Page ID
                                    #:2968
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 48 of 50 Page ID
                                    #:2969
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 49 of 50 Page ID
                                    #:2970
Case 2:18-cv-06081-JAK-SK   Document 251 Filed 11/05/19   Page 50 of 50 Page ID
                                    #:2971
